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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                     Case Nos.: 3:08cr22/LAC/EMT
                                                   3:14cv31/LAC/EMT
RONALD WHITE

___________________________________/
                                     ORDER
        This cause comes on for consideration upon the chief magistrate judge’s Report

and Recommendation dated November 17, 2016 (ECF No. 1216). The parties have

been furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). No objections have been filed.

        Having considered the Report and Recommendation, I have determined that the

Report and Recommendation should be adopted.

        Accordingly, it is now ORDERED as follows:

        1.    The chief magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this order.

        2.    Defendant’s Motion to Vacate, Set Aside or Correct Sentence (ECF No.
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1071) is DENIED.

       3.     A certificate of appealability is denied.

       DONE AND ORDERED this 21st day of December, 2016.



                                 s/L.A. Collier
                             LACEY A. COLLIER
                             SENIOR UNITED STATES DISTRICT JUDGE




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